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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

Veronica Fortunato

226 W. Rittenhouse Square
Apt, 2501

Philadelphia, PA 19163

 

  

 

CIVIL ACTION
Plaintiff, : No.
v. ; JURY TRIAL DEMANDED
Zarwin Baum DeVito Kaplan
Schaer & Toddy, P.C.
1818 Market Street :
13" Floor . chy pr
Philadelphia, PA 19103 : J L = i)
and AUG 23 2019
: KATE BAREMAM, Clark
Jay M. Leffler, Esquire : OM eeepc
1818 Market Street :
13" Floor
Philadelphia, PA 19103
and
Nancy Landy
1818 Market Street
13" Floor
Philadelphia, PA 19103
Defendants.
COMPLAINT
Jurisdiction and Venue
I. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201, 2202,

1331 (a), 1343 and 42 U.S.C. § 2000e-5(f). The described remedies are sought pursuant to
42 U.S.C. §§ 2000e-5, 1981a, and 1988, and 28 U.S.C. §§ 2201, 2202, 1331(a) and 1343.

2. Plaintiff has complied with all jurisdictional prerequisites, including those set
forth in 42 U.S.C. § 2000e-5.

 

 
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3. All Defendants maintain their principal offices in the Eastern District of
Pennsylvania, and more specifically, in the Commonwealth of Pennsylvania, at 1818
Market Street, 13th Fioor, Philadeiphia, PA 19103. Furthermore, the alleged unlawful
acts and practices of the Defendants were committed within or upon the direction of
Defendants’ and/or Defendants’ agents within the Commonwealth of Pennsylvania at that
location.

Parties

4, Plaintiff Veronica Fortunato is an adult individual residing at 226 W. Rittenhouse
Square, Apt. 2501, Philadelphia, PA 19103.

5. Defendant Zarwin Baum DeVito Kaplan Schaer & Toddy P.C. (hereinafter
“Zarwin Baum”) is a Pennsylvania professional corporation with a principal place of
business located at 1818 Market Street, 13th Floor, Philadelphia, PA 19103. Upon
information and belief, Defendant Zarwin Baum employs in excess of twenty (20)
employees.

6. Defendant Zarwin Baum is a large, successful and prominent law firm, based in
Center City Philadelphia, which largely (but not exclusively) conducts defense litigation.

7. Defendant Zarwin Baum is an "employer" within the meaning of 42 U.S.C, §
2000e(b).
8. Defendant Jay M. Leffler, Esquire is an adult individual and licensed

Pennsylvania attorney regularly practicing law and/or conducting business at 1818
Market Street, 13" Floor, Philadelphia, PA 19103, and at any and all times relevant was a
shareholder and/or partner at the law firm of Defendant Zarwin Baum.

9. Defendant Leffler is an "employer" within the meaning of 42 U.S.C. § 2000e(b).
10. Defendant Nancy Landy is an adult individual regularly conducting business at
1818 Market Street, 13" Floor, Philadelphia, PA 19103, and at any and all times relevant
was the office manager at Defendant Zarwin Baum, and in fact and as further set forth

infra was the individual who fired Plaintiff on October 10, 2018.

11. Accordingly, Defendant Landy is an "employer" within the meaning of 42 U.S.C.
§ 2000e(b).

Facts

12. In or around April of 2018, Defendant Zarwin Baum hired the Plaintiff as a
paralegal, a position with a salary of $52,000 per year, and the Plaintiff was 24 years old.

 
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13, The Plaintiff was hired to work as a paralegal in a litigation department overseen
by Theodore (“Ted”) M. Schaer, Esquire, a partner and/or shareholder in Defendant
Zarwin Baum.

14. The Plaintiff was hired for that position, in particular, by an attorney named
Joseph R, Bonfig, Esquire, who was also a partner and/or shareholder in Defendant
Zarwin Baum.

15. In April 2018, the Plaintiff was initially assigned to work for Joseph R. Bonfig,
Esquire and a second attorney, Katelyn T. Czarnik, Esquire, an associate attorney at
Defendant Zarwin Baum, both of whom worked under Ted Schaer, Esquire, as
aforementioned,

16. Shortly after beginning her employment with Defendant Zarwin Baum, the
Plaintiff discovered that Defendant Zarwin Baum fostered and promoted a severe,
pervasive, malignant, sexually discriminatory, and degrading hostile work environment
and party culture in the workpiace.

17, The severe, pervasive, malignant, sexually discriminatory, and degrading hostile
work environment and party culture at Defendant Zarwin Baum also consisted of
frequent “Happy Hours” at local bars and restaurants, in which female employees of the
firm, like the Plaintiff, were often expected to participate and were heavily pressured to
engage in binge drinking, despite the obviously degrading and unlawful characteristics of
such a party culture in a law firm workplace.

18. Upon information and belief, in fact, it was capable of happening precisely

because of that party culture in the workplace at Defendant Zarwin Baum, which served
the vulgar interests of the overwhelmingly male attorneys, partners and/or shareholders of
the law firm.

19. Many of Defendant Zarwin Bauim’s “Happy Hours” took place at Smith’s
Restaurant and Bar in Rittenhouse Square, a client of Defendant Zarwin Baum just
around the corner from the office, which is infamous for the sexually hostile and
discriminatory environment in which it serves food and liquor to its patrons. See Smith’s
sexist window signs, and the Philadelphia Inquirer article regarding the same, attached
hereto and incorporated herein as Exhibit A.

20, The hostile work environment and party culture of Defendant Zarwin Baum was
such that shortly after the Plaintiff was first hired, Ted Schaer, Esq. asked the Plaintiff if
she could pass a drug test, which he immediately followed with, “Just kidding. If you
could pass a drug test, then this place wouldn’t be for you.”

21, The hostile work environment and party culture of Defendant Zarwin Baum was
such that Ted Schaer, Esq. evidently felt free, at a “Happy Hour” office party thrown by
Defendant Zarwin Baum at North Bowl, to ask the Zarwin Baum employees in

attendance to participate in the drinking confessional game called “Marry, Fuck, Kill” in

 
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which said employees were to confess who amongst their colleagues they would like to
“marry, fuck, or kill.”

22. ‘The party culture of Defendant Zarwin Baum was such that the law firm hosted
one and/or multiple Christmas parties at hotels where the law firm would also rent rooms
for employees who wanted to consume excessive amounts of alcohol, and/or have sex
with other employees, and/or some mixture of the two, including one famous party where
a senior partner was seen leaving a hotel room with someone other than his spouse, the
police were called because attorneys were doing cocaine in the parking lot, and a female
employee was swimming naked in the hotel pool, which a senior partner took as
presumptuous license to subsequently begin sending sexually harassing emails to that
female employee.

23. Shortly after her employment began at Defendant Zarwin Baum, the Plaintiff
discovered that Defendant Zarwin Baum fostered and promoted a severe, pervasive,
malignant, sexually discriminatory, and degrading hostile work environment and party
culture in the workplace, with overwhelming emphasis on the purchase and/or
consumption of both alcohol and/or illegal narcotics, both in the workplace and/or at
locations outside the office during events that were nonetheless sponsored, directed,
managed and/or paid for by Defendant Zarwin Baum.

24. Defendant Zarwin Baum implicitly and/or explicitly permitted the sale and/or
consumption of marijuana and/or alcohol and/or other intoxicants to take place amongst
its employees and within the confines of the office and/or in the office’s immediately
adjacent facilities, such as the parking lot.

25. The Plaintiff learned very quickly that complaints about this severe pervasive,
malignant, hostile work environment would fall on deaf ears, as the male attorneys,
partners and/or shareholders of the law firm maintained a deliberately indifferent posture
towards this hostile work environment and party culture (at best), or an actively perverse
interest in maintaining, fostering, and perpetuating the same (at worst).

26. To wit, shortly after beginning her employment at Defendant Zarwin Baum, the
Plaintiff learned that Joe Bonfig, Esquire announced to the young male employees in
Defendant Zarwin Baum’s mailroom that he “did good” by hiring “a hot girl” like the
Plaintiff.

27, The Plaintiff also learned that this mailroom also served as the arena in which
both Joe Bonfig, Esquire, and Defendant Jay Leffler, Esquire would crow about the
vulgar ways in which they wished to have sex with the Plaintiff, humiliating word of
which eventually made its way back to the Plaintiff.

28. Joe Bonfig, Esquire thereafter repeatedly articulated an interest in the Plaintiff's
personal life, with particular regard to whom she was dating.

 
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29. The Plaintiff was also requested by Joe Bonfig to go to a conference room and
assist him and approximately eight (8) other attorneys with the selection of team names
for the office’s “fantasy football league” from a hat, in which the team names were
sexually explicit turns of phrase written on slips of paper; upon so arriving at the
conference room, the Plaintiff was corralled by approximately nine (9) total attorneys
who howled with laughter at the Plaintiff's discomfort as she was forced to pull out such
names as “9 inch cocks,” and “Big Dick Noles,” and because the nine attorneys had
crowded around her, the Plaintiff could not get out of the room.

30. Occasionally, the pervasive, malignant, sexually discriminatory, hostile work
environment and party culture at Defendant Zarwin Baum was fostered in these
workplace social situations because the law firm’s success is largely due to the efforts of
women in subservient positions, who feverishly labor and/or clamor for the benefit of,
and approval from, older men in positions of authority and management as the attorneys,
partners and/or shareholders in charge of Defendant Zarwin Baum.

31. The Plaintiff's female co-workers and/or immediate supervisors would often bully
the Plaintiff, and exacerbate the labor conditions in which she worked, over the Plaintiff's
physical appearance and body, such as being “too skinny,” “too tall for high heels,” or a
being called a “slut” by Sheryl Hunter because the Plaintiff received flowers at the office,
the latter of which, upon information and belief, was overheard by a partner, Brian
Worley, Esquire, who dutifully reported the “slut” incident to upper management — and in
response to which, upper management did nothing about such hostile behavior,
whatsoever, because Sheryl Hunter was the secretary and/or paralegal for Ted Schaer,
Esq.

32, Specific female co-workers and/or supervisors of the Plaintiff would also foster a
sexually hostile work environment by dressing provocatively, bragging about their sex
lives with their spouses, talking about which lawyers in the law firm they’d like to have
sex with, or talking about their menstrual cycles, and no superiors at Defendant Zarwin
Baum would do anything to curb such behavior.

33. Upon information and belief, it was a matter of everyday practice that Ted Schaer,
Esq. was in charge of receiving every complaint about a hostile work environment and/or
party culture, including all of the aforementioned, and it was common knowledge that he
would bury every complaint that he received concerning the same and/or otherwise fail to
take remedial measures.

34. | Upon information and belief, Defendant Zarwin Baum would conduct sham
sexual harassment seminars, which were conducted in a fashion for the firm to claim
plausible deniability for the severe and pervasively hostile work environment which it
otherwise actively fostered, and in which it regularly conducted business, as detailed
Supra.

 
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35, Upon information, belief, and all of the aforementioned information, Defendant
Zarwin Baum had at any and all times relevant a well settled and ingrained practice and
culture of sexual harassment, discrimination and/or retaliation pervading the law firm.

Specific facts concerning Jay Leffler, Esquire

36. Plaintiff hereby incorporates averments 1 through 35 as though fully set forth
herein at length,

37. Within the first thirty (30) days of Plaintiff's employment at Defendant Zarwin
Baum, Defendant Leffler asked the Plaintiff to follow him into the office kitchen for a
story, whereupon Defendant Leffler told the Plaintiff that ten (10) years prior, there was
“a girl” “your age” who had worked as a paralegal at Defendant Zarwin Baum, with
whom Defendant Leffler had flirted back and forth and with whom he eventually dated.
Defendant Leffler then told the Plaintiff that said “girl” once made a joke about whether
or not Defendant Leffler had an AARP membership, to which — as Defendant Leffler
looked at Plaintiff and recounted — he replied, “You won’t be saying that when I fuck you
later.”

38. Upon information and belief, Defendant Leffler told this story to the Plaintiff in
an effort to convey his sexual success and prowess with young female employees at
Zarwin Baum.

39. Upon information and belief, Defendant Leffler in fact received explicit
permission from Defendant Zarwin Baum to engage in a sexual relationship with this
unnamed paralegal, a license which subsequently fostered and fueled Defendant Leffler’s
further actions toward the Plaintiff, as aforementioned and as further set forth infra.

40. _ By the end of June 2018, the Plaintiff's father had died, after which Defendant
Leffler began daily deliveries of apple slices and peanut butter to the Plaintiff's cubicle.

4]. | Upon one such delivery, Defendant Leffler asked the Plaintiff to eat the apples in
a sexually provocative fashion.

42. Upon another such delivery, Defendant Leffler delivered the apples to the
Plaintiff with a handwritten note which read, “Apple is delicious! I wonder how you
taste?” A true and correct copy of the note is attached hereto and incorporated herein as

Exhibit B.

43, Defendant Leffler persistently told the client how sexy he found the Plaintiff to
be.

44. Defendant Leffler persistently suggested that he show the Plaintiff pictures of his
penis on a number of occasions.

 
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45. Within approximately sixty (60) days of her initial employment at Defendant
Zarwin Baum, and on a daily basis, Defendant Leffler would persistently comment about
the Plaintiff's “scent,” unnecessarily walk by her desk and stare at her, and comment on
Plaintiffs figure and her taste in clothing.

46. Defendant Leffler made these observations, and exhibited these behaviors, in the
eyesight and/or earshot and/or with knowledge thereof by other employees, some of
whom were also subjected to Defendant Leffler’s confession of just for the Plaintiff,
which were humiliatingly reported by said employee(s) to the Plaintiff, who let other
employees at Defendant Zarwin Baum know about his feelings for the Plaintiff and/or his
sexual desires for her.

47. On one occasion, within the confines of an elevator, Defendant Leffler grabbed
the Plaintiff’s hand, and forced her to rub the crown of his head.

48, Upon information and belief, Joe Bonfig and/or Defendant Leffler consistently
dismissed Plaintiff's complaints about all of the aforementioned as guy talk.

49, Upon information and belief, in or around October 10, 2018, Plaintiff asked
Defendant Leffler to leave her alone and cease his behavior, in response to which
Defendant Leffler began shouting and ranting and raving, which brought the Plaintiff to
tears.

50. On October 10, 2018, Plaintiff emailed Defendant Landy (the office manager at
Defendant Zarwin Baum) to bring all of these problems to her attention, and requested an
appointment to see her.

51. Instead, Defendant Landy summoned the Plaintiff to a conference room, where
Joe Bonfig and the office accountant, Steve, were also present, and upon the Plaintiff's
entrance into the room, Defendant Landy said to the Plaintiff, “Chica, we’re going to
have to let you go,”

52, Defendant Landy then mistakenly presented a boilerplate agreement for
severance, which had been previously used for a former employee named Jessica Baker,
and demanded that the Plaintiff sign the same within the next seven (7) days, a true and
correct copy of which is attached hereto and incorporated herein as Exhibit C.

53. The Plaintiff obviously would not sign the agreement for a host of reasons, not the
least of which was that it pertained to a previous female employee, Jessica Baker.

54. On December 28, 2018 and January 2, 2019, the Plaintiff filed a complaint
concerning all of the aforementioned with the Equal Employment Opportunity
Commission (EEOC).!

 

' Two complaints were filed in an abundance of caution, because the federal government was shut down at
the time,

 
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55. On June 5, 2019, the EEOC issued its right to sue letter to the Plaintiff (at EEOC
Charge No. 530-2019-01618), a true and correct copy of which is attached hereto and
incorporated herein as Exhibit D.

PLAINTIFF vy. DEFENDANTS
COUNT [- SEX DISCRIMINATION
VIOLATION OF TITLE VII OF
THE CIVIL RIGHTS ACT OF 1964 — 42 U.S.C. § 2000c-2 et. seq.

56. Averments | through 55 are incorporated as though fully set forth herein at
length.

57, Defendant Zarwin Baum had at any and all times relevant a well settled and
ingrained, severe, and/or pervasive practice and culture of sexual harassment,
discrimination and/or retaliation pervading the law firm, which was and is a substantial
reason for the harassment and retaliation that the Plaintiff has suffered heretofore, as
aforementioned, supra.

58. Asa female employee, Plaintiff belongs to a protected class upon which it is
illegal for Defendants to discriminate with regard to her compensation, terms, conditions,
or privileges of employment.

59. Defendants have engaged in unlawful practices in violation of Title VII of the
Civil Rights Act of 1964, 42 U.S.C. § 2000e-2(a)(1), by discriminating against the
Plaintiff on the basis of gender in their employment practices, including but not limited to
altering the terms, conditions, and/or privileges of the Plaintiff's employment on the basis
of her sex,

60. Defendants have engaged in unlawful practices in violation of Title VII of the
Civil Rights Act of 1964, 42 U.S.C. § 2000e-2(d), by discriminating against the Plaintiff
on the basis of her sex, where the Defendants control, train or retrain their employces
with inter alia on-the-job training programs.

61, ‘The Plaintiffs protected characteristic of sex played a determinative factor in all
of the Defendants’ actions and/or inactions, as aforementioned.

62, Defendants subjected the Plaintiff to adverse tangible employment actions — such
as significant changes in Plaintiff's employment status, discipline, denial of training,
failure to promote, reassignment with significant different job responsibilities, and/or
decisions causing changes in terms, conditions, benefits and/or privileges of the
Plaintiff's employment benefits.

63. Defendants were also in violation of Title VII because they were negligent in
failing to rectify the sexually intimidating, hostile and/or offensive work environment at
Zarwin Baum, examples of which have been detailed as aforementioned.

 
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64. Indeed, not only did the Defendants fail to rectify the sexually intimidating,
hostile and/or offensive work environment at Zarwin Baum, they actually fostered and
encouraged the same by allowing Ted Schaer, Nancy Landy, Joe Bonfig and/or Jay
Leffler to dismiss Plaintiff's complaints in that regard as aforementioned, thus fostering
and encouraging a severe, pervasive, malignant sexually intimidating, hostile and/or
offensive work environment.

65. Plaintiff's attempts at rectifying the same were similarly and summarily
dismissed, further fostering and encouraging a severe, pervasive, malignant sexually
intimidating, hostile and/or offensive work environment.

66. Moreover, the Defendants fostered and encouraged a sexually hostile work
environment through the aforementioned party culture at the law firm, and in so doing
violated Defendant Zarwin Bauin’s own policies on Equal Employment Opportunity,
and/or Harassment, copies of which had been previously provided to the Plaintiff and/or
Defendant Jay Leffler. See Acceptance Forms, attached hereto and incorporated herein
as Exhibit E.

67, The Defendants cannot demonstrate any legitimate nondiscriminatory reasons for
their employment actions and/or inactions against the Plaintiff, and any reasons proffered
by the Defendants for their actions, individually and/or collectively, are pretextual and
can readily be disbelieved.

68. Alternatively, Plaintiff's protected status played a motivating part in the
Defendants' decisions, actions and/or mactions, even if other factors may have also
motivated their actions against Plaintiff.

69. The Defendants acted with the intent to discriminate, as detailed supra.

70. The Defendants were insistent and/or deliberately indifferent to a continuing,
egregious course of conduct, as detailed supra.

71, As a result of the Defendants’ violations of Title VU, the Plaintiff has suffered
damages including but not limited to past and/or future lost wages, pain and suffering,
inconvenience, mental anguish, loss of enjoyment of life, humiliation, emotional distress,
reputational harm, diminishment of career opportunities, and other harm both tangible
and intangible.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter
judgment in her favor and against Defendants, jointly and severally, in an amount in
excess of $150,000 (One Hundred Fifty Thousand Dollars), as follows:

(a) Declaratory judgment in the nature of an order declaring that the actions of
Defendants violate Title VII of the Civil Rights Act of 1964;

 

 

 
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(b) Injunctive relief, enjoining Defendants from further such violations;

(c) Compensatory and punitive damages in an amount to be determined at trial,
together with interest, costs and fees, including expert witness fees pursuant to 42
USC § 1988;

(d) Attorney's fees; and
(e) Such other relief as this Honorable Court deems appropriate.

PLAINTIFF v, DEFENDANTS
COUNT II — HOSTILE WORK ENVIRONMENT
VIOLATION OF TITLE VIE OF
THE CIVIL RIGHTS ACT OF 1964 — 42 U.S.C. § 2000e-2 et. seq.

72, Plaintiffs hereby incorporate averments 1 through 71 as though fully set forth
herein at length.

73, Title VII also prohibits hostile work environment harassment, defined as
unwanted comments or conduct regarding the Plaintiff's protected characteristics that
have the purpose or effect of unreasonably interfering with the terms and conditions of
the Plaintiff's employment. See Harris v. Forklifi Systems, Inc., 510 U.S, 17, 21 (1993).

74. An employer is strictly liable for supervisor harassment that “culminates in a
tangible employment action, such as discharge, demotion, or undesirable reassignment.”
See Burlington Industries, Inc. v, Ellerth, 524 U.S. 742 (1998),

75, Respondeat superior liability exists for an employer regarding the acts of non-
supervisory employees where, as here, the employer “knew or should have known of the
harassment and failed to take prompt remedial action.” See Andrews v. City of
Philadelphia, 895 F. 2d 1469, 1486 (3d Cir. 1990),

76, Employer lability for co-worker harassment also exists where, as here, “the
employer failed to provide a reasonable avenue for complaint.” See Huston v. Procter &
Gamble Paper Prods. Corp., 568 F. 3d 100, 105 (3d Cir. 2009).

77. In sexual harassment cases, examples of conduct warranting a finding of a hostile
work environment include but are not limited to: verbal abuse of a sexual nature; graphic
verbal commentaries about an individual’s body, sexual prowess, or sexual deficiencies;
sexually degrading or vulgar words to describe an individual; pinching, groping and
fondling; suggestive, insulting or obscene comments or gestures; the display in the
workplace of sexually suggestive objects, pictures, posters or cartoons; asking questions
about sexual conduct; and unwelcome sexual advances. See Harris v. Forklift Systems.
Inc,, 510 U.S. 17, 21 (1993) (“discriminatory intimidation, ridicule, and insult”); Meritor
Savings Bank FSB y, Vinson, 477 Y.S. 57, 60-61 (1986) (repeated demands for sexual
favors, fondling, following plaintiff into women’s restroom, and supervisor’s exposing

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himseif); Mandei v, M & O Packaging Corp., 706 F. 3d 157, 168 (3d Cir, 2013)
(stressing that inquiry “must consider the totality of the circumstances” rather than
viewing component parts separately).

78. Additionally, the Third Circuit recognizes a hybrid cause of action for hostile
work environment based on retaliation, holding that the retaliation provision of Title VII
“ean be offended by harassment that is severe or pervasive enough to create a hostile
work environment.” Jensen y. Potter, 435 F. 3d 444, 446 (3d Cir. 2006).

79. Here, the Defendants’ conduct occurred because of Plaintiff's legally protected
characteristic and was severe or pervasive enough to make a reasonable person of the
same legally protected class believe that the conditions of employment were altered and
that the working environment at Zarwin Baum was intimidating, hostile and/or abusive.

80, The sexually harassing conduct, as aforementioned, directly refers to Plaintiff's
sex and the retaliatory harassing conduct refers directly to Plaintiff's protected status
and/or activity.

81. The Defendants delegated to Plaintiff's supervisors and/or co-employees the
authority to control the work environment, and they abused that authority to create a
hostile work environment.

82. Sexually explicit, verbally and physically harassing conduct filled the
environment of the Plaintiffs office and/or work environment, both on premises and at
law firm events at outside locations,

83. The Defendants knew that the sexually explicit, verbally and physically harassing
conduct filled the Plaintiff's office and/or work environment, both on premises and at law
firm events at outside locations.

84. Sexually explicit, verbally and physically harassing conduct caused the Plaintiff
to sustain severe emotion distress resulting in physical illness and with serious
psychological ramifications.

85. Plaintiff subjectively regarded the sexually explicit, verbally and physicaily
harassing conduct as unwelcome and unwanted and objectively opposed the conduct.

86. Additionally, Defendants are liable for a retaliatory hostile work environment
because Defendants subject the Plaintiff to a persistent series of grievances including but
not limited to repeated acts of intimidation and continued changes to Plaintiff's working
conditions.

87. The Defendants’ conduct was both severe and pervasive, as aforementioned in
averments 1 through 86,

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88. The Defendants’ conduct was physically threatening and humiliating, as
aforementioned in averments | through 87.

89. The conduct unreasonably interfered with Plaintiff's work performance.

90. The Defendants’ conduct was so extreme that it resulted in material changes to
the terms and conditions of Plaintiffs employment.

$1. | The Defendants provided a futile avenue for complaint for the Plaintiff.
92. The Defendants retaliated against the Plaintiff for her complaints.
93, The Defendants acted upon a continuing course of conduct, as aforementioned.

94, The Defendants have been previously sued for, and/or have been presented with
claims of, similar sexual harassment, retaliation and/or hostile work environment claims,
and have failed to change the culture of the law firm to prevent this from happening to
employees like the Plaintiff.

95, As a result of the Defendants’ violations of Title VI, the Plaintiff has suffered
damages including but not limited to past and/or future lost wages, pain and suffering,
inconvenience, mental anguish, loss of enjoyment of life, humiliation, emotional distress,
reputational harm, diminishment of career opportunities, and other harm both tangible
and intangible.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter
judgment in her favor and against Defendants, jointly and severally, in an amount in
excess of $150,000 (One Hundred Fifty Thousand Dollars), as follows:

(a) Declaratory judgment in the nature of an order declaring that the actions of
Defendants violate Title VII of the Civil Rights Act of 1964:

(b) Injunctive relief, enjoining Defendants from further such violations;
(c) Compensatory and punitive damages in an amount to be determined at trial,
together with interest, costs and fees, including expert witness fees pursuant to 42
USC § 1988;
(d) Attorney's fees; and
(e) Such other relief as this Honorable Court deems appropriate.

PLAINTIFF y. DEFENDANTS

COUNT Til ~- RETALIATION

VIOLATION OF TITLE VII OF
THE CIVIL RIGHTS ACT OF 1964 — 42 U.S.C. § 2000e-3 et. seq.

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96. Plaintiff hereby incorporates averments | through 95 as though fully set forth
herein at length.

97. Title VII protects employees fiom retaliation for attempting to exercise their
rights under the Act, outlawing “(d)iscrimination for making charges, testifying,
assisting, or participating in enforcement proceedings. It shall be an unlawful
employment practice for an employer to discriminate against any of his
employees...because (she) has opposed any practice made an unlawful employment
practice by this subchapter, or because (she) has made a charge, testified, assisted or
participated in any manner in an investigation, proceeding, or hearing under this

subchapter.” See 42 U.S.C. § 2000e-3.

98. A cause of action for retaliation under Title VII lies whenever the employer
responds to protected activity in such a way that “might have dissuade a reasonable
worker from making or supporting a charge of discrimination.” See Burlington vy. N. &
S.P. Ry. V. White, 548 U.S. 53, 68 (2006).

99. Informal complaints and protests can constitute protected activity under the
“opposition” clause of 42 U.S.C. § 2000e-3. See Moore v. City of Philadelphia, 461 F,
3d 331, 343 (3d Cir. 2006) (“Opposition to discrimination can take the form of informal
protests of discriminatory employment practices, including making complaints to
management.”)

100. Retaliation need not be job-related to be actionable under Title VII; for example,
an employer can effectively retaliate against an employee by taking actions not directly
related to her employment or by causing her harm outside the workplace. See Burlington
v.N. & SF. Ry, V. White, 548 U.S. 53, 61-62 (2006) (rejecting authority from the Third
Circuit and others requiring that plaintiff suffer an adverse employment action in order to
recover for retaliation).

101, Title VII not only bars retaliation against the employee who engaged in the
protected activity; it also bars retaliation against another employee if the circumstances
are such that the retaliation against that employee might well dissuade a reasonable
worker from engaging in protected activity. See Thompson v. North American Stainless,
L.P., 131 S. Ct. 863, 868 (2011).

102. The Defendants discriminated against the Plaintiff because of her protected
activity under Title VIL

103. The Plaintiff was acting under a reasonable, good faith belief that her right to be
free from discrimination on the basis of sex was violated.

104. The Plaintiff was subjected to materially adverse actions at the time or after the
protected conduct took place,

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105. In addition and/or the alternative, the Defendants also discriminated against the
Plaintiff by taking materially adverse actions against third parties who engaged in
protected activity on the Plaintiff's behalf.

106, There was a causal comnection between the Defendants’ materially adverse
actions and Plaintiffs protected activity,

107, The Defendants acted upon a continuing course of conduct.

108. The Plaintiff will rely upon a broad array of evidence to demonstrate a causal link
between her protected activity and the Defendants’ actions and/or inactions taken against
her, such as the unusually suggestive proximity in time between events, as well as
Defendants’ antagonism and/or deliberate indifference toward the Plaintiff after
Defendants became aware of the Plaintiffs protected activity.

109. Plaintiff engaged in protected activity by registering her complaints (and/or
opposing sex discrimination made unlawful by Title VIL) to Ted Schaer, Joe Bonfig,
Defendant Leffler, and/or Defendant Landy.

110. Defendants fired Plaintiff because of this protected activity and/or interfered with
her ability to find another job.

11. Asa result of Defendants’ conduct, Plaintiff has suffered and will continue to
suffer harm, including but not limited to financial loss, reputational damage, humiliation
and psychological harm.

112. Upon information and belief, Defendants’ conduct was intentional, deliberate,
willful, malicious, and reckless, and was conducted with an evil motive and in callous
disregard of the Plaintiff's rights, entitling the Plaintiff to punitive damages.

113. Plaintiff is entitled to all remedies available for violations of Title VI.

114. Asa result of the Defendants’ violations of Title VII, the Plaintiff has suffered
damages including but not limited to past and/or future lost wages, pain and suffering,
inconvenience, mental anguish, loss of enjoyment of life, humiliation, emotional distress,
reputational harm, diminishment of career opportunities, and other harm both tangible
and intangible.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter
judgment in her favor and against Defendants, jointly and severally, in an amount in
excess of $150,000 (One Hundred Fifty Thousand Dollars), as follows:

(a) Declaratory judgment in the nature of an order declaring that the actions of
Defendants violate Title VII of the Civil Rights Act of 1964;

(b) Injunctive relief, enjoining Defendants from further such violations;

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Case 2:19-cv-03842-CMR Document 1 Filed 08/23/19 Page 15 of 44

(c) Compensatory and punitive damages in an amount to be determined at trial,
together with interest, costs and fees, including expert witness fees pursuant to 42
USC § 1988;

(d) Attorney's fees; and
(e) Such other relief as this Honorable Court deems appropriate.

PLAINTIFF v, DEFENDANTS
COUNT IV
VIOLATION OF THE PENNSYLVANIA
HUMAN RELATIONS ACT- 43 P.S. § 955 et seq.

115. Averments | through 114 are incorporated as though fully set forth herein at
length.

116. Asa female employee, Plaintiff belongs to a protected class upon whom it is
illegal for Defendants to discriminate with regard to her compensation, terms, conditions,
or privileges of employment.

117. As aforementioned in detail above, the Plaintiff suffered an adverse consequence
to her employment as a direct result of her gender.

118. This inequity in the terms and conditions of her employment is just one of several
factors that clearly indicate the discriminatory nature in which Defendants treated
Plaintiff because of her gender, as is more fully set forth above.

119. Even after the disparity was brought to Defendants’ attention, no attempt was
made by anyone with decision-making power within the organization to improve the
terms and conditions of Plaintiff's employment to a level equal to that of male
counterparts at the law firm.

120. Defendants have engaged in unlawful practices in violation of the Pennsylvania
Human Relations Act, 43 P.S. § 955, by discriminating on the basis of gender in their
employment practices, including but not limited to altering the terms and conditions of
the Plaintiff's employment on the basis of her sex.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter
judgment in her favor and against Defendants, jointly and severaily, in an amount in
excess of $150,000 (One Hundred Fifty Thousand Dollars), as follows:

(a) Declaratory judgment in the nature of an order declaring that the actions of
Defendants violate the Pennsylvania Human Relations Act;

(b) Injunctive relief, enjoining Defendants from further such violations;

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(c) Compensatory and punitive damages in an amount to be determined at trial,
together with interest, costs and fees, including expert witness fees pursuant
thereto;

(d) Attorney's fees; and
(e) Such other relief as this Honorable Court deems appropriate.

PLAINTIFF y. DEFENDANT ZARWIN BAUM
COUNT V
PENNSYLVANIA WHISTLEBLOWER RETALIATION

43 P.S. § 1422 et. seq.

121. Plaintiff hereby incorporates averments 1 through 120 as though fully set forth
herein at length.

122. Among other things, the Whistleblower Law defines an employer as “any of the
following which receives money from a public body to perform work or provide services
relative to the performance of work for or the provision of services to a public body:...(2)
A partnership...(4) A corporation for profit.” See 43 P.S, § 1422.

123. On its website, Defendant Zarwin Baum advertises that in practices law in the
areas of inter alia Charter School Law, Government Relations, and Public Finance, a true
and correct copy of which is attached hereto and incorporated herein as Exhibit F.

124. Accordingly, upon information and belief, Defendant Zarwin Baum is and/or has
received money from and/or actively represented a public body, both in the provision of
the Defendant’s general litigation services as well as in the specific areas of Charter
School Law, Government Relations, and Public Finance.

125. The Whistleblower Law provides that “No employer may discharge, threaten or
otherwise discriminate or retaliate against an employee regarding the employee’s
compensation, terms, conditions, location or privileges of employment because the
employee or a person acting on behalf of the employee makes a good faith report or is
about to report, verbally or in writing, to the employer or appropriate authority an
instance of wrong doing or waste by a public body or an instance of waste by any other
employer as defined in this act.” See 43 P.S, § 1423,

126. “Wrongdoing includes not only violations of statutes or regulations that are of the
type that the employer is charged to enforce, but violations of any federal or state statute
or regulation.” See Golascheysky v. Dep’t of Envtl. Protection, 554 Pa. 157, 162 (1998),
citing 43 PS. § 1422.

127, Plaintiff has extensively alleged Defendant Zarwin Baum’s violations of federal
and state law herein, both supra and infra.

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128, In order to plead a retaliation case under the Whistleblower Law, a plaintiff must
plead (1) wrongdoing and (2) a causal connection between the report of wrongdoing and
adverse employment action, McAndrew v. Bucks County Bd. Of Com’rs, 982 F.Supp.2d
491, 503 (E.D.Pa. 2013).

129, — Plaintiff has extensively alleged wrongdoing and a causal connection of that
wrongdoing with the termination of her employment, supra.

130. In analyzing whether the motive for an adverse employment action is retaliatory,
courts in the Third Circuit have two factors: “(1) the temporal proximity between the

' protected activity and the alleged discrimination and (2) the existence of a pattern of
antagonism in the intervening period.” Hussein v. UPMC Mercy Hosp., 466 Fed. Appx.
108, 112 (3d Cir. 2012),

131. Plaintiff has extensively pled the temporal proximity between her protected
activity and the discrimination surrounding the same, and the existence of a pattern of
antagonism toward the Plaintiff, supra.

132. As a result of Defendant Zarwin Baum’s violations of the Whistleblower Law, the
Piaintiff has suffered damages including but not limited to past and/or future lost wages,
pain and suffering, inconvenience, mental anguish, loss of enjoyment of life, humiliation,
emotional distress, reputational harm, diminishment of career opportunities, and other
harm both tangible and intangible.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter
judgment in her favor and against Defendants, jointly and severally, in an amount in
excess of $150,000 (One Hundred F ifty Thousand Dollars), representing actual damages,
compensatory damages, reasonable attorneys’ fees, litigation costs, pre and post
Judgment interest, and adjudication and declaration that the Defendant's conduct as set
forth herein is in violation of the Whistleblower Law; lost wages, and all additional
general and equitable relief to which the Plaintiff is entitled.

PLAINTIFF v. DEFENDANTS
COUNT VI
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

133, Plaintiff hereby incorporates averments 1 through 132 as though fully set forth
herein at length.

134. Plaintiff brings claims against all Defendants for TED and to hold each Defendant
vicariously liable for the acts of the others.

135, Each Defendants’ actions and/or inactions, as aforementioned, was extreme
and/or outrageous.

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136. Each Defendants’ actions and/or inactions, as aforementioned, was intentional
and/or reckless,

137. Each Defendants’ actions and/or inactions, as aforementioned, caused the Plaintiff
severe emotional distress.

138. During Plaintiff's employment, the Defendants intentionally and recklessly
harassed and inflicted emotional injury on the Plaintiff by subjecting her to outrageous
treatment beyond all bounds of decency,

139. Defendants verbally, mentally and physically abused the Plaintiff and treated her
in a demeaning and inferior manner, which no reasonable person could be expected to
endure.

140, As a direct and proximate result of the Defendants malicious and conscious
wrongful actions and/or inactions, Plaintiff has sustained severe emotional distress
resulting in bodily injury and damages supported by medical evidence.

141. Asa result of Defendants’ actions and/or inactions, the Plaintiff has suffered
damages including but not limited to past and/or future lost wages, pain and suffering,
inconvenience, mental anguish, loss of enjoyment of life, humiliation, emotional distress,
reputational harm, diminishment of career opportunities, and other harm both tangible
and intangible,

WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter
judgment in her favor and against Defendants, jointly and severally, in an amount in
excess of $150,000 (One Hundred Fifty Thousand Dollars), representing actual damages,
compensatory damages, reasonable attorneys’ fees, litigation costs, pre and post
judgment interest; lost wages, and all additional general and equitable relief to which the
Plaintiff is entitled,

PLAINTIFF vy. DEFENDANT LEFFLER
COUNT VII
ASSAULT AND BATTERY

142. Plaintiff hereby incorporates averments | through 141 as though fully set forth
herein at length.

143. As aforementioned, Defendant Leffler grabbed the Plaintiff's arm within the
confines of an elevator, and forced her to rub the crown of his head, which was sexually
suggestive, perverse, sexually pleasurable to himself alone, psychologically pleasurable
to himself alone, outrageous, shocking to the conscience, and/or so utterly bereft of any
concern for the Plaintiff's well being, as to constitute wanton and/or reckless behavior.

144, Plaintiff did not consent to this battery in any way, shape or form.

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145, Defendant did not have permission, in any way, to grab the Plaintiff's arm within
the confines of an elevator, and force her to rub the crown of his head,

146. The willful acts and conduct of Defendant Leffler constitutes assault and/or
battery upon the Plaintiff.

147, The assault and/or battery committed by Defendant Leffler upon Plaintiff was
unprovoked and in no manner whatsoever due to any act of failure to act on the part of
Plaintiff.

148. The assault and/or battery committed by Defendant Leffler was in pursuit of, and
furtherance of, the severe, pervasive, sexually discriminatory and hostile work
environment created by Defendant Leffler.

149, As a direct and proximate result of Defendant Leffler’s willful actions of assault
and/or battery, the Plaintiff sustained significant injuries, some or all of which may be
permanent in nature. Plaintiff also makes a claim for such injuries, damages and
consequences, resulting from the assault and battery, of which she has no present
knowledge.

150, As a further result of the willful assault and battery caused by the Defendant,
Plaintiff suffered and underwent great pain, was hindered from performing and
transacting her usual affairs and business, and was forced to expend various sums of
money to treat her injuries and may in the future be required to expend further sums of
money in order to treat her injuries.

151. Asa direct and proximate result of the Defendant’s willful actions, Plaintiff was
humiliated, and traumatized, some or all of which may result In permanent loss,

WHEREFORE, Plaintiff demands judgment against Defendant for such sums as
would reasonably and properly compensate her for her injuries in an amount in excess of
One Hundred Fifty Thousand Dollars ($150,000), together with delay damages, interest,
costs, attorney’s fees, and punitive damages.

PLAINTIFF v. DEFENDANTS
COUNT VIII
CIVIL CONSPIRACY

152, Plaintiff hereby incorporates averments | through 151 as though fuily set forth
herein at length.

153. Plaintiff believes and therefore avers that the Defendants, by and through their
actions and/or inactions, as more fully set forth in the preceding paragraphs of this
Complaint, did intentionally conspire, while acting within the course and scope of their
employment and/or supervisor authority, to unlawfully harass, batter and/or assault

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Plaintiff, which ultimately caused Plaintiff substantial damages and harm, as
aforementioned,

i354. The Defendants’ civil conspiracy for their malicious, intentional, and/or reckless
actions and/or inactions were a factual cause of and/or directly and proximately caused
Plaintiff's substantial damages and harm, as aforementioned.

155. The above-described actions of the Defendants were so malicious, intentional, and
reckless and displayed such a reckless indifference to the Plaintiff? s rights and well-being
that the imposition of punitive damages is warranted.

156. The actions of the Defendants therefore constitute civil conspiracy under the laws
of the Commonwealth of Pennsylvania, and this Court has supplemental jurisdiction to
hear and adjudicate these claims.

WHEREFORE, Plaintiff demands Judgment against Defendant for such sums as
would reasonably and properly compensate her for her injuries in an amount in excess of
One Hundred Fifty Thousand Dollars ($150,000), together with delay damages, interest,
costs, attorney’s fees, and punitive damages.

DEMAND FOR JURY TRIAL

Trial by a jury of twelve (12) persons is demanded as to all issues.

Respectfully Submitted,

LAW OFFICE OF J. CONOR
CORCORAN, P.C.

   

Date: August 23, 2019

  

~ Conor Corcoran, Esquire
Atty. LD. No. 89111
1500 John F. Kennedy B
Suite 620
Philadelphia, PA |
Phone: (215) 73541135
Fax: (215) 735-7175

 
 
     
 
 

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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

Veronica Fortunato

 

CIVIL ACTION
Plaintiff, No.
v. JURY TRIAL DEMANDED
Zarwin Baum DeVito Kaplan
Schaer & Toddy, P.C,, et. al.,
Defendants.
CERTIFICATE OF SERVICE

 

I, J. Conor Corcoran, Esquire, hereby certify that a true and correct copy of the
Complaint in the above captioned matter has been sent to the following by first class,
United States mail:

Defendants Zarwin Baum, Leffler and Landy

1818 Market Street, 13" Floor
Philadelphia, PA 19103

Respectfully Submitted,

LAW OFFICE OF J. CONOR
CORCORAN, P.C.

 
   

Date: August 23, 2019

 
 

* Conor Corcoran, Esquire
Atty. 1.D, No. 891f1
1500 John F. Kennedy B
Suite 620
Philadelphia, PA 1
Phone: (215) 73541135
Fax: (215) 735-7175

     
 
 
 

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EXHIBIT A

 

 

 

 
Philly bar's COREu-SIERE AREA AGM OoMITRIce Filed 08/23/19 Page 23 of APage | of 8

 

JUNE 22, 2017

Philly bar's latest vulgar sign sparks online
outrage

Misogynistic joke prompted meeting between Smiths' manager and
resident

¢ BY DANIEL CRAIG
fs PhillyVoice Contributor

 

CHARLES BELLINGER/FACEBOOK

https://www. philly voice.com/philly -bars-vulgar-signs-sparks-online-anget/ 11/16/2018

 
Philly bar'sSCARR CERAM YARS GRHGM REE PHilig@oice Filed 08/23/19 Page 24 of APage 2 of 8

This sign outside Smiths Bar & Restaurant in Center City caused controversy online, with some
claiming the message was sexist and misogynistic. It reads: "How you spend $100 on makeup just to
have broke dudes *** on your face."

Philadelphia bar with a history of displaying raunchy signs in its front window
is coming under fire for the latest sexually-explicit message that greeted

patrons and pedestrians earlier this week.

Smiths Restaurant & Bar, at 39 S. 19th St., not far from the bustling Center City corner at
19th and Chestnut streets, has long displayed jokes — oftentimes vulgar ones —
handwritten on chalkboards in the bar's front windows. In the past, messages have

spurred allegations of sexism and other seemingly make light of violence.

ALSO ON PHILLYVOICE
Student journalist's graduation gift to high school: an exposé on bus safety
The Philadelphia story behind America's first 'selfie'

Mystery of the ‘creepy unmarked helicopters’ has been solved

Center City resident Charles Bellinger revived the debate when he posted a Facebook
photo of the sign in the window Tuesday that read:

 

i; "How you spend $100 on makeup just to have broke dudes *** on your face?"

 

In the past two days, the bar has received 10 new one-star Yelp! reviews, each chiding the

bar, accusing it of being insensitive and inappropriate.

"Look, I'm just a dude that is tired of cheap shots at women and sexism of certain
segments of bar culture,” Bellinger wrote in a Facebook message. "As a man who doesn't
have to endure that sort of misogyny s*** day in and day out I can't stay silent when you

can call people to the floor on it.”

https://www. philly voice.com/philly-bars-vulgar-si ens-sparks-online-anger/ 11/16/2018

 
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Case 2:19-cv-03842-CMR Document1 Filed 08/23/19 P

The sign in the window at Smith’s Restaurant and Lounge on Ritienhouse Square did nol go over well with activists

by Sam Wood, INQUIRER STAFF WRITER

If it was a joke, it went over like a lead balloon.

 
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Women's groups and activists were riled this week after a watering hole on Rittenhouse Square in Philadelphia recently put up a sign in ts window,
"T fike my beer like { lke my violence... Domestic," it read, neatly handprinted in colored chalk at Smith's Restaurant and Lounge on S. 19th Strect.

It didu't take long for Philadelphia's comnumily activists to assail the restaurant and condemn the sign as being in bail taste.

Aticle continues below advertisement
A photo of the chalked message quickly circulated on social media outlets, garnenng mimerous comments of howling outrage.

"This sign mn any circumstance would be appalling, but given what we see m Philadelphia every day, it's hortible," said Jeannine Lisitski, executive director of

Worren Against Abuse.

Dornestic violence in Philadelphia is epidemic, Lisitski said. Police responded to about 115,000 domestic violence calls last year, according to the department.
According lo John Barry, the bar manager at Sumith's, the sign was put up late last week,

Almost immediately, a woman came info complain.

Brendan Smith, the bar's owner said the sign had been up about 30 ininutes before it was yanked from the window.

Barry thought the matter was over. Bul on Wednesday, the photo made a splash ona number of Facebook pages focused on women's issues,

"Tt was just a big mess," Barry sax today. "Oh God, we're very sorry.

"Now we have a new rule that everything has to be approved belore if goes up on the chalk board."

In addition to an apology, Barry said he would personally volunteer at an agency that helps lo serve baticred women.

Women Against Abuse's Lisilski said a crisis councclor spoke with the worn who had written the sign.

The woman, who she did not identify, is a survivor of domestic abuse, Lisitski said. ‘he councelor offered advice to the sign scribe.

"So ina roundabout way, some good came of it,” said the bar manager.

Lisitsky said that any intended irony did not excuse the sign.

“Even though it was written by a survivor, T think it's appuling," Lisitski said. "This is not acceptable.”

Jill McDevitt, a sexologist who owns the sex-boutique Feminique in West Chester, is not one to shy away fiom sexual humor, She has a PhD in human sexuality.

But she treats the topic of domestic violence fiom a different perspective. She sells a t-shirt in her shop that reads: "Real Men Beat Their Meat, Not their

Women or Children."
MoeDevilt was alerted to the restaurant's sig via Facebook.

"Comments and jokes making light of violence against women only reinforces the culture that believes this is OK," she said. "The sign's message perpetuates

 
Case 2:19-cv-03842-CMR Document 1 Filed 08/23/19 Page 28 of 44

violence by putting the onus on the victim, not the perpetrator."
Bar owner Smith said it would never happen again and offered to help with fundraising for Women Against Abuse,

"Please understand that we arent bad people," Smith wrote to the organization, “Just a litte immature at times."

Contact staff witer Sam Wood at 215-854-2796, samwoad@phillynews.com or @inqwriter on Twitter.

Follow the inquirer at www. Twitter.com/Phillyinquirerand www.Facebook.com/Phillyinquirer

Published: February 23, 2012 — 1:31 PMEST | Updated: February 23, 2012 — 6:11 PMEST
The Philadelphia Inquirer

 

Advertisement

BUSINESS

| . vo bocce tue vo mony PENNSYLVANIA

How a Main Line
town became the first
in Pa. to ban plastic
straws

Philly Shipyard makes a play for
polar icebreakers

NEWS

Nor'easter: How it

will impact your

Saturday

A Steven Tyler wig, a 'Hammer' - and
Halloween laughter galore | Maria
Panaritis

Bullied in school, a Northeast Philly
woman won a $500,000 judgment. Her
case could ripple.

Eagles hepe London getaway perfect Prosecutors: Pa. Jjawmaker admitted
timing as they struggle to save their she broke the law
season

5 years later, justice for DJ murdered

in South Street ice cream shop City Council bill would ban cashless

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EXHIBIT B

 

 

 

 
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EXHIBIT C

 

 

 
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EXHIBIT D

 

 

 

 
Case 2:19-cv-03842-CMR Document1 Filed 08/23/19 Page 36 of 44

 

 

EEOC Form 161-8 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
To: Veronica Fortunato From: Philadelphia District Office
1500 John F. Kennedy Boulevard, Suite 620 801 Market Street
Philadelphia, PA 19102 Suite 1300

Philadelphia, PA 19107

On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))

 

EEOC Charge No, EEOC Reprasentalive Telephone No.
: Legal Unit,
§30-2019-01618 Legal Technician (245) 440-2828

 

(See also the additional information enclosed with this form.)

Notice To THE PERSCN AGGRIEVED:

Title Vii of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has

been issued at your request. Your lawsuit under Title Vil, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under

state law may be different.)
More than 180 days have passed since the filing of this charge.

Less than 180 days have passed since the filing of this charge, bul | have determined that it is unlikely that the EEOC wil
be able to complete its administrative processing within 180 days from the filing of this charge.

The EEOC is terminating its processing of this charge.

UE AU

The EEGC will continue to process this charge.

Age Discrimination In Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In thls regard, the paragraph marked below applies to

your case;

The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be fifed in federal or state court WITHIN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

a

The EEOC Is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA sults must be brought

in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

half of the Commission

  

June 5, 2019

Enclosures(s) Jamie R. Williamson, {Date Mailed}

District Director

cc. Nancy Landy Conor J. Corcoran, Esq.
Human Resources LAW OFFICE OF J. CONOR CORCORAN, P.C,
ZARWIN BAUM DEVITO KAPLAN SCHAER TODDY PC 1500 JFK Bivd., Suite 620
1818 Market Street Philadelphia, PA 19102
13th Floor

Phiia, PA 19163

 
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Enciosure with EEOC
Form 161-B €11/16)

INFORMATION RELATED TO FILING SUIT
UNDER THE Laws ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal jaw.
if you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

 

Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE Sulit RIGHTS

in order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your Jawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court Is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your sult may include
any matter alleged in the charge or, fo the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought In the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing sult, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 2/1/08, you should file suit
before 7/1/40 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title Vit, the ADA, GINA or the ADEA referred to above.
Therefore, If you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, In limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC AssiIsTANCE -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U,S. District Court can hear your case, If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 80 days.)

 

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE,

 
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EXHIBIT E

 

 

 

 
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VMF 0015

ACKNOWLEDGMENT OF ATTENDANCE AT ANTI-HARASSMENT TRAINING

[ hereby acknowledge that on January 16, 2018, I attended Anti-Harassment
Training provided by my employer, Zarwin, Baum, DeVito, Kaplan, Schaer, Toddy, P.C.
1 acknowledge that I was afforded an opportunity to ask any questions [ may have about

the information presented at the training or about the firm’s anti-harassment policy.

Print Employee Name: Employee Signature:

ff

GI
Date: (fa hg

 

 
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EXHIBIT F

 

 
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8/23/2019

ZARWIN « BAUM + DEVITO

Zarwin Baur | Philadelphia and New Jersey Attorney Practices

CALL TOLL FREE: 885-833-3604

 

 

KAPLAN + SCHAER + TODDY « B.C.

ATTORMEYS AT LAW

 

PRACTICE AREAS

The lawyers of Zarwin Baum DeVito Kaplan
Schaer Today do net merely practice law, we
serve clienis with high-level legal
represeniation in order to meet and exceed
their goals. Each attorney's extensive
experience helps our team focus on more than
legat matters. We share business solutions,
The following are some of the industries in
which Zarwin Baur has achieved particularly
outstanding results for Xs ciienis:

Banking
Construction

Energy

Financlal Services
Hospitality
insurance
Manufacturing

Real Estate

Surety
Telecommunicatlons

Trucking

HOME vOMTAG!

htipsu/www.zarwin.com/practices.php

 

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PRACTICE AREAS

* Business Practice Group
+ Charter School Law
« Commercial Litigation
+ Corporate and Business
+ Employment
+ Environmental and Energy Practice
+ Estate Litigation
+ Estate Planning & Administration of Wilis & Trusts
» Financial Services
+ Franchise
» Government Relations
« Guardianship
« Immigration
+ Non-profit Organizations
« Petroleum Marketing
+ Public Finance
+ Real Estate
» Surety/Fidelity/Construction
* White Coflar Compliance / Criminal Defense
+ Zoning and Land Use

+ Casualty & Professional Liability Defense Practice Group
+ Automobile Insurance Coverage & Liability
+ Construction Detect
+ Construction Site Accident Liability
» Cyber Liabitity, Privacy and Data Security
+ Insurance Coverage Law & Bad Faith Litigation
+ Liquor Liability
« Premises and Habitational Liability
* Products Liability
« Professional Liabitity
* Property
+ Retail and Hospitality Liability
+ Trucking & Transportation
+ Workers’ Compensation

+ Personal Injury
+ Developmental Disabilities & Custodial Neglect
+ Medical Malpractice
« Nursing Home

 

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B46 069, Che ARR 2: 19- -CV- 03842- CMA eR KS ee ete Page 42 AK - s&Y ny

The JS 44 civil cover sheet and th information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court :*This)forsh, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil ddcket sh aE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS T DEFENDANTS

Very cA fSrthate Bln Baua~

{b) County of Residence of First Listed Piaintiff County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF q (IN US. PLAINTIFR CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, WSE THE LOCATION
THE TRACT OF LAND FNVOLYVED.

  

 

    
 

 

     
   

  
  

(c) Attomeys (Fire: Name, Address, and Telephone Ninth Attormeys (ff Known)

 

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(For Diversity Gases Only} and One Box for Defendant)
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Plaintiff (U.S. Government Not a Party) Citizen of This Stat Incorporated or Principal Place o4 oO4
of Business In This State

G2 US. Government
Defendant

4 Diversity - Citizen of Another
(indicate Citizenship of Parties in Heim IID)

Incorporated and Principal Place os 05
of Business In Another State

Citizen or Subject of a
Foreign Country

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IV NATURE OF SUIT (Pla

 

 

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Leave Act C) 895 Freedom of Information
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Medical Malpractice

 

OF 210 Land Condemnation

    

 

 

 

 

 

 

7 220 Foreclosure O 463 Alien Detainee Income Security Act or Defendant) 0 899 Administrative Procedure
O 230 Rent Lease & Ejectment a® C7 510 Motions to Vacate OF 87f IRS—Third Party Act/Review or Appeal of
0 246 Torts to Land Sentence 26 USC 7609 Agency Decision
0) 245 Tort Product Liability O 536 General 0 956 Constitutionality of
© 290 AlE Other Real Property O 535 Death Penalty : N i State Statutes
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Cite the U.S, Civil Statute under which you are filing (Do me not cite jurisdictional statutes unless diversity): .
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Brief d f
rief description o cause: So » SE aw! aati J bposdohic bahar k OD fea BEN

VIL. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMANB §$ CHECK YES only #f demanded in complaint:
ae é

. ;CAUSE OF ACTION

 

COMPLAINT: UNDER RULE 23, F.R.CvP. JURY DEMAND: 3 No
VILE. RELATED CASE(S)

IF ANY (See instructions): JUDGE Lz VA PR. DOCKET ER b 24 2019
DATE Sf SIGNATURE O) TTOR ae —

FOR OFFICE USE PNLY fo y

 

 

 

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RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
   
  

Case 2:19-cv-03842- OMe BaCHRaBirdrcTlatRB/23/19 Page. eRe 44 ey gy A

FOR THE EASTERN DISTRI )F. PENNSYLVANIA ‘ “ an

DESIGNATION FORM |
(fo be used ona or pro se plaintiff to indicate the category of the cuse "for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: t bie de I: ? LA co pa
Address of Defendant: P Le leet lp Ls fr A

Place of Accident, Incident or Transaction: r Vet 4 re. e4

 

RELATED CASE, IF ANY: .
Case Number: A L. A LQ. Judge: Date Terminated:
CATT

Civil cases are deemed related when Yes is answered to any of the following questions:

 

 

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes No
previously terminated action in this court?

 

 

 

 

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No
pending or within one year previously terminated action in this court?

 

 

 

 

3. Dees this case involve the validity or infringement of a patent already in suit or any earlier Yes No
numbered case pending or within one year previously terminated action of this court?

 

 

 

 

 

 

 

 

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes No
case filed by the same individual?

 

 

 

I certify that, to my knowledge, the within case (2 is (Be not related to any case now pending or within one year previously terminated action in

this court except as noted above,

 

“y “9
a
DATE: _&% ie ha 4 < aa 2S } tal
f i f Attorney-at-Law | Pro Se Plaintiff Attorney LD. # (if applicable}

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CIVIL: (Place a ¥ in one category only)

 
 
 
   

A. Federal Question Cases: B. Diversity Jurisdiction Cases:
Plo. Indemnity Contract, Marine Contract, and All Other Contracts [] i. Insurance Contract and Other Contracts
Fy 2. LA [] 2. Airplane Personal Injury
LJ] 3. Jones Act-Personal Injury L] 3. Assault, Defamation
" titrust [] 4. Marine Personal Injury
5. Patent L] 45. Motor Vehicle Personal Injury
6 bor-Management Relations ["] 6. Other Personal Injury (Please specify}:
Civil Rights CI 7. Products Liability
Habeas Corpus [] 8. Products Liability — Asbestos
f Securities Act(s) Cases CL} 9. All other Diversity Cases
. Social Security Review Cases (Please specify):

 

. All other Federal Question Cases
(Please specify):

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

Loo. oy Jw wl Ee oo, COUNSEL Of record oF pro se plaintiff, do hereby certify:

  
 

ursuant to Local Civil Rule 53. 2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil ae case

 

 

exceed the sum of $150,000.00 exclusive of interest and costs: MG 2 4 ong
a § Au
Relief other than monetary damages is sought. SS 4 ij i J
r
DATE: 8/52 [0 [4 Sasi Gre iBapplicable = ;
é [ ° Se ‘Autor ney-at-Law {Pro Se Pro Se Plaintiff erat f fe # (f applicable)
fo

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.CP, 38.

 

 

 

Civ. 609 (5/2018)

 
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= IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

      

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In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on ail defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( }

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.) { )

(f} Standard Management — Cases that do not fall into any one of the other tracks.

Bo) 3 Lorn orem cr Jee NS oa fot my Ep

 

 

 

Date Attomey-at-law Attorney for Pia. te
Qe BiSe IBS aS ~ ABS NAS COA (2) Capel,
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(Civ. 660) 10/62

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